
659 S.E.2d 4 (2008)
STATE
v.
Eugene Johnny WILLIAMS.
No. 506A07.
Supreme Court of North Carolina.
February 19, 2008.
Ann Petersen, Chapel Hill, for Williams.
Robert Montgomery, Special Deputy Attorney General, Calvin Colyer, Assistant District Attorney, Edward W. Grannis, Jr., District Attorney, for State of NC.
The following order has been entered on the motion filed on the 18th day of February 2008 by Defendant for Extension of Time to Serve Proposed Record on Appeal:
"Motion Allowed. Defendant shall have up to and including the 22nd day of April 2008 to serve his/her proposed record upon the district attorney. The parties shall then proceed to settle and file the record on appeal pursuant to the provisions of Appellate Rules 11 and 12. By order of the Court in conference this the 19th day of February 2008."
